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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA

   ANTHONY TELLIS and BRUCE CHARLES *                   JUDGE ELIZABETH E. FOOTE
   on behalf of themselves and all others similarly *   USMJ MARK L. HORNSBY
   situated                                         *
                                                    *
   VERSUS                                           *
                                                    *
   JAMES M. LEBLANC, Secretary                      *
   of the Louisiana Department of Public Safety *
   and Corrections, JERRY GOODWIN,                  *
   Warden of David Wade Correction Center           *   CIVIL ACTION
   COL. VINCENT COLEMAN;                            *
   DOCTOR GREGORY SEAL; ASSISTANT *                     NO.: 5:18-CV-00541-EEF-MLH
   WARDEN DEBORAH DAUZAT;                           *
   STEVE HAYDEN; AERIAL ROBINSON;                   *
   JOHNIE ADKINS; and THE                           *
   LOUISIANADEPARTMENT OF                           *
   PUBLIC SAFETYAND CORRECTIONS                     *

                                               ORDER

          Considering Defendants’ Motion for Protective Order Pursuant to Rule 26(c) Regarding

   Plaintiffs’ Noticed Remedy Depositions:

          IT IS HEREBY ORDERED that Defendants’ Motion for Protective Order pursuant to

   Rule 26(c) is GRANTED, and Plaintiffs will be limited to deposing these individuals once for

   the Phase II proceeding.

          IT IS FURTHER ORDERED that Notice of Deposition of Natalie LaBorde is

   QUASHED.

          SO ORDERED on this ______ day of ____________, 2022



                                                __________________________________________
                                                   JUDGE, UNITED STATES DISTRICT COURT
                                                         WESTERN DISTRICT OF LOUISIANA
